
PER CURIAM.
K.D., a juvenile, appeals a final disposition order entered on February 4, 2010, adjudicating her delinquent of the offense of giving a false name under section 901.36(1), Florida Statutes (2010). K.D. argues, and the State concedes, that the trial court erred in denying her motion for dismissal because she was not legally detained, which is a condition precedent to an arrest and conviction for giving a false name. We agree.
Lawful detention is a condition precedent to the crime of giving a false name to a law enforcement officer. See § 901.36, Fla. Stat. (2010); J.P. v. State, 855 So.2d 1262, 1265 (Fla. 4th DCA 2003). In the instant case, the record does not show that K.D. was legally detained when she gave a false name. Rather, the incident began as a consensual encounter when K.D. gave the false name, which in and of itself was not a valid reason to detain her. See Cooks v. State, 901 So.2d 963, 964 (Fla. 2d DCA 2005). Accordingly, the adjudication of delinquency is REVERSED and the case is remanded for discharge.
WOLF, ROBERTS, and WETHERELL, JJ., concur.
